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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 NEW ALBANY DIVISION

 ELLEN FRANCES LIVELY,                 )
                                       )
                Plaintiff,             )
                                       )
        vs.                            )       CAUSE NO: 4:08-cv-0021-DFH-WGH
                                       )
 AISIN U.S.A. MFG., INC.,              )
                                       )
                Defendant.             )


                             JOINT STIPULATION OF DISMISSAL

        Come now the parties, by counsel, and pursuant to Fed. R. Civ. P. 41(a) hereby stipulate

 and agree that the above-entitled action be dismissed in its entirety, with prejudice, each party to

 bear its own costs, attorneys' fees, and expenses.

                                               Respectfully submitted,


 s/ Susannah M. Pieper                            s/ Mary M. Runnells___________
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                                CERTIFICATE OF SERVICE

         I hereby certify that on February FILL IN, 2009, a copy of the foregoing was filed
 electronically. Notice of this filing will be sent to the following parties by operation of the
 Court’s electronic filing system. Parties may access this filing through the Court’s system.

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                                            s/
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